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                                UNITED STATES DISTRICT COURT

                                  DISTRICT OF SOUTH DAKOTA

                                       SOUTHERN DIVISION
  *********** * ****************************************
                             *
  UNITED STATES OF AMERICA,  *            CR. 07-40055-24
                             *
                  Plaintiff, *    MEMORANDUM OPINION
                             *    AND ORDER REGARDING
       - vs -                *     PETITION TO DISCLOSE
                             *    GRAND JURY TESTIMONY
                             *
  CRAIG LEWIS,               *
                             *
                               *
                         Defendant.
                               *
  *************** * ***** ** * ** * ** * **************** * *****
         The United States, by and through counsel has petitioned the Court pursuant to FED. R.
  CRIM. P. 6(e)(3)(E)(I) to permit disclosure of grand jury testimony in the above-entitled action for
  the Government's use in considering, and potentially defending a tort claim filed by the Defendant,
  Craig Lewis. (Doc. 1812). The petition was mailed to Craig Lewis on January 15,2010, and he has
  not responded.
         In an administrative tort claim pursuant to the Federal Tort Claims Act Lewis has alleged
  he was falsely imprisoned and his due process protection against malicious prosecution was violated
  because his original Indictment was procured by false testimony before the grand jury. The
  Government requests disclosure of two grand jury transcripts that mention Lewis and his role in the
  conspiracy to distribute crack cocaine, a conspiracy to which he ultimately pled guilty.
         A request for the disclosure of grand jury proceedings that falls under an exception to the
  secrecy requirements of FED. R. CRIM. P. 6 must also contain a showing of a particularized need
  for grand jury materials before disclosure becomes appropriate. The request must show that the
  disclosure is: (1) required to avoid possible injustice in a different judicial proceeding, (2) greater
  than the need for continued secrecy, and (3) specifically directed at the material required. United
  States v. McDougal, 559 F.3d 837 (8th Cif. 2009).
          Since the basis of Lewis' claim is that he was injured by false testimony before the grand
  jury the Government has established that disclosure is required to avoid possible injustice in the
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  administrative tort claim process. Since all of the named co-conspirators but one have been
  convicted and that one named co-conspirator was acquitted after ajury trial, the need for continued
  secrecy is not greater than the need for disclosure in the administrative tort claim process.
          The Government contends that the request for the two grand jury transcripts that mention
  Lewis and his role in the conspiracy to distribute crack cocaine is specifically directed at the material
  required. While that contention appears reasonable, the Court cautions the Government to both
  avoid any possible injustice in the administrative claim and to accommodate the public interest in
  secrecy of grand jury proceedings by filing under seal with the administrative body processing the
  federal tort claim all portions of all grand jury transcripts which reference Craig Lewis and to redact
  from these transcripts all portions of the grand jury testimony which do not mention Craig Lewis.
  Accordingly
          IT IS ORDERED that the Government's petition to permit disclosure of grand jury
          testimony (Doc. 1812) is granted to the extent that the Government may disclose the
          requested grand jury testimony by filing under seal with the administrative body processing
          Lewis' federal tort claim all portions of all grand jury transcripts which reference Craig
          Lewis and to redact from these transcripts all portions of the grand jury testimony which do
          not mention Craig Lewis.


          Dated this   $ ~day of February, 2010.
                                                  BY THE COURT:


                                                ~~W$Ih~
                                                     wrence L. PIersol
   ATTEST:                                         United States District Judge
  JO~H HAAS, CL}j~
  BY' JIYl.IWA U.
            (SEAL)        DEP TY




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